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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                            Plaintiff,          )
                                                )
v.                                              )      Case No. 4:01CR148
                                                )
DARRELL MILLER,                                 )
                                                )
                            Defendant.          )

                                         ORDER

        THIS MATTER comes before the Court on defendant's unopposed motion to

continue the November 1, 2006, revocation hearing, filing 440, for approximately 90 days.

The Court, being fully advised in the premises, and noting that the government has no

objection, finds that said motion should be granted.

        IT IS THEREFORE ORDERED that the defendant’s revocation hearnig shall be

continued until February 8, 2007, at 1:00 p.m. The defendant is ordered to appear at said

time.

        October 25, 2006.                       BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
